                         Case 1-18-43971-cec               Doc 1        Filed 07/11/18           Entered 07/11/18 10:22:57
                                                                                                                                                 7/11/18 10:18AM




Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF NEW YORK

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                             4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Brooklyn Buildings LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1600 Bergen Street                                              781 Sherwood Street
                                  Brooklyn, NY 11213                                              Valley Stream, NY 11581
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Kings                                                           Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 1
                        Case 1-18-43971-cec                      Doc 1       Filed 07/11/18              Entered 07/11/18 10:22:57
                                                                                                                                                      7/11/18 10:18AM

Debtor    Brooklyn Buildings LLC                                                                        Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 5313

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                  Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                 When                                  Case number
                                                  District                                 When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                     Relationship
                                                  District                                 When                              Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 2
                      Case 1-18-43971-cec                    Doc 1        Filed 07/11/18            Entered 07/11/18 10:22:57
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Debtor   Brooklyn Buildings LLC                                                                    Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                       page 3
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                                                                                                                                                     7/11/18 10:18AM

Debtor    Brooklyn Buildings LLC                                                                   Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      July 11, 2018
                                                  MM / DD / YYYY


                             X   /s/ Yehoshua Allswang                                                    Yehoshua Allswang
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Managing Member




18. Signature of attorney    X   /s/ Jonathan S. Pasternak                                                 Date July 11, 2018
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Jonathan S. Pasternak
                                 Printed name

                                 DelBello Donnellan Weingarten Wise & Wiederkehr, LLP
                                 Firm name

                                 One North Lexington Avenue
                                 White Plains, NY 10601
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (914) 681-0200                Email address


                                  NY
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 4
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 Fill in this information to identify the case:

 Debtor name         Brooklyn Buildings LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          July 11, 2018                           X /s/ Yehoshua Allswang
                                                                       Signature of individual signing on behalf of debtor

                                                                       Yehoshua Allswang
                                                                       Printed name

                                                                       Managing Member
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                                                                                                                                                          7/11/18 10:18AM




 Fill in this information to identify the case:
 Debtor name Brooklyn Buildings LLC
 United States Bankruptcy Court for the: EASTERN DISTRICT OF NEW                                                                                      Check if this is an
                                                YORK
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 SC Concierge LLC                                                                                                                                                         $75,000.00
 833 Fanwood Avenue
 Valley Stream, NY
 11581
 Madison Park                                                                                                                                                             $70,000.00
 Investors
 88 Washington
 Avenue
 Cedarhurst, NY
 11516
 L&T Attorney                                                                                                                                                             $10,000.00
 Services
 778 Morris Park
 Avenue
 Suite 10
 Bronx, NY 10462
 Metro Futures LLC                                                                                                                                                        $10,000.00
 57 West 38th Street
 New York, NY 10018
 NY Equity                                                                                                                                                                  $5,000.00
 Management LLC
 1202 Halsey Street
 Suite 101
 Brooklyn, NY 11207
 Berg and David PLLC                                                                                                                                                        $4,700.00
 266 Broadway, Suite
 503
 Brooklyn, NY 11211
 Paul Mernick                                                                                                                                                               $4,000.00
 337 Central Avenue
 Building R
 Lawrence, NY 11559
 Goldstein Hall PLLC                                                                                                                                                        $3,000.00
 80 Broad Street, Ste.
 303
 New York, NY 10004



Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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                                                                                                                                                                          7/11/18 10:18AM




 Debtor    Brooklyn Buildings LLC                                                                             Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Yehuda Berko                                                                                                                                                               $2,000.00
 614 Oak Drive
 Far Rockaway, NY
 11691
 Jesse Kaufman                                                                                                                                                              $2,000.00
 251 Troy Avenue
 Brooklyn, NY 11213
 Warner &                                                                                                                                                                   $1,500.00
 Scheuerman
 6 West 18th Street
 10th Floor
 New York, NY 10011
 Forensic Litigation                                                                                                                                                        $1,200.00
 Group
 623 Eagle Rodk
 Avenue
 Suite 364
 West Orange, NJ
 07052
 Riverside Abstract                                                                                                                                                         $1,200.00
 LLC
 3839 Flatlands
 Avenue
 Brooklyn, NY 11234
 Dependable Abstract                                                                                                                                                        $1,000.00
 Inc.
 3838 Flatlands
 Avenue
 Brooklyn, NY 11234
 SRY Design                                                                                                                                                                 $1,000.00
 1360 Fulton Ave
 Studio
 #415
 Brooklyn, NY 11216
 Michael Reed                                                                                                                                                               $1,000.00
 4311 Laek Forest
 Court
 Finksburg, MD 21048
 Fulcrum Properties                                                                                                                                                            $500.00
 153 East 96th Street,
 1-A
 New York, NY 10128




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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                                                               United States Bankruptcy Court
                                                                      Eastern District of New York
 In re      Brooklyn Buildings LLC                                                                                    Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Ariel Marinelli                                                                      17.50%                                     Membership



 Isachar Allswang                                                                     17.50%                                     Membership



 Israel Rosenberg                                                                     9%                                         Membership



 Mielcah E. Munk                                                                      17.50%                                     Membership



 Rachel Allswang                                                                      3.5%                                       Membership



 Yehoshua Allswang                                                                    17.50%                                     Membership
 781 Sherwood Street
 Valley Stream, NY 11581

 Yisroel Allswang                                                                     17.50%                                     Membership



DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Managing Member of the corporation named as the debtor in this case, declare under penalty of perjury that I
have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and
belief.



 Date July 11, 2018                                                           Signature /s/ Yehoshua Allswang
                                                                                            Yehoshua Allswang

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                                               United States Bankruptcy Court
                                                                      Eastern District of New York
 In re      Brooklyn Buildings LLC                                                                          Case No.
                                                                                    Debtor(s)               Chapter     11




                                               VERIFICATION OF CREDITOR MATRIX


        The above named debtor(s) or attorney for the debtor(s) hereby verify that the attached matrix (list of
creditors) is true and correct to the best of their knowledge.




 Date:       July 11, 2018                                               /s/ Yehoshua Allswang
                                                                         Yehoshua Allswang/Managing Member
                                                                         Signer/Title

 Date: July 11, 2018                                                     /s/ Jonathan S. Pasternak
                                                                         Signature of Attorney
                                                                         Jonathan S. Pasternak
                                                                         DelBello Donnellan Weingarten Wise & Wiederkehr, LLP
                                                                         One North Lexington Avenue
                                                                         White Plains, NY 10601
                                                                         (914) 681-0200 Fax: (914) 684-0288




USBC-44                                                                                                                           Rev. 9/17/98


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                   Berg and David PLLC
                   266 Broadway, Suite 503
                   Brooklyn, NY 11211


                   Brooklyn Union Gas Co
                   One Metrotech Center
                   Brooklyn, NY 11201


                   Criminal Court of NYC
                   120 Schemerhorn Street
                   Brooklyn, NY 11201


                   David Fleishman, Esq.
                   2233 Nostrand Avenue
                   Third Floor
                   New York, NY 10038


                   Department of Housing
                   Preservation & Developmen
                   100 Gold Street
                   New York, NY 10038


                   Dependable Abstract Inc.
                   3838 Flatlands Avenue
                   Brooklyn, NY 11234


                   Dominick James Mingione
                   80 Pine Street, FL 38
                   New York, NY 10005


                   Eric T. Schneiderman
                   NYS Dept of Tax & Finance
                   Charles E. Gary, Asst AG
                   300 Motor Parkway Ste 205
                   Hauppauge, NY 11788-5522


                   Forensic Litigation Group
                   623 Eagle Rodk Avenue
                   Suite 364
                   West Orange, NJ 07052


                   Frimhar Associates LLC
                   184 S. Livingston Ave.
                   #132
                   Livingston, NJ 07039
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               Fulcrum Properties
               153 East 96th Street, 1-A
               New York, NY 10128


               Goldstein Hall
               Attn: Gabriel Gerbi Esq.
               80 Broad Street
               Suite 303
               New York, NY 10004


               Goldstein Hall PLLC
               80 Broad Street, Ste. 303
               New York, NY 10004


               Heights Houses 1 Corp.
               c/o Lorenzo A. Deluca Esq
               269 Forest Avenue
               Staten Island, NY 10301


               Internal Revenue Service
               PO Box 7346
               Philadelphia, PA 19101-7346


               James Wesley
               56 Rogers Avenue
               Brooklyn, NY 11201


               Jesse Kaufman
               251 Troy Avenue
               Brooklyn, NY 11213


               L&T Attorney Services
               778 Morris Park Avenue
               Suite 10
               Bronx, NY 10462


               Madison Park Investors
               88 Washington Avenue
               Cedarhurst, NY 11516


               Marc S. DeMilt, Esq.
               The City Of New York
               H.P.D.
               100 Gold Street, Rm 5-W2
               New York, NY 10038
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               Metro Futures LLC
               57 West 38th Street
               New York, NY 10018


               Michael Reed
               4311 Laek Forest Court
               Finksburg, MD 21048


               Milestone Community
               Management Group
               c/o Leon Miles
               114 Macon St. Units 1&2
               Brooklyn, NY 11216


               NY Equity Management LLC
               1202 Halsey Street
               Suite 101
               Brooklyn, NY 11207


               NYC Dept of Finance
               Dept of Legal Affairs
               345 Admas St., 3rd FL
               Brooklyn, NY 11201


               NYC    Dept of Finance
               c/o    Karen Ross, Ewq.
               NYC    Law Dept Room 3-106
               100    Church Street
               New    York, NY 10007


               NYC Environmanal Control
               100 Church Street
               New York, NY 10038


               NYC Environmental Control
               NYC Law Department
               Attn: Karen Ross, Esq.
               100 Church St., Rm 3-106
               New York, NY 10007


               NYC Parking Violations
               c/o Karen Ross, Esq.
               100 Shurch Street
               Room 3-106
               New York, NY 10007
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               NYS Dept of Tax & Finance
               Bankruptcy Unit
               P.O. Box 5300
               Albany, NY 12205


               Office of U.S. Trustee
               US Federal Office Bldg
               201 Varick St., Ste 1006
               New York, NY 10014


               Paul Mernick
               337 Central Avenue
               Building R
               Lawrence, NY 11559


               Riverside Abstract LLC
               3839 Flatlands Avenue
               Brooklyn, NY 11234


               SC Concierge LLC
               833 Fanwood Avenue
               Valley Stream, NY 11581


               Security & Exchange Comm.
               NY Regional Office
               200 Vesey Strett, Ste 400
               New York, NY 10281-1022


               SRY Design
               1360 Fulton Ave Studio
               #415
               Brooklyn, NY 11216


               United States Attorney
               One St. Andrews Plaza
               Claims Unit - Room 417
               New York, NY 10007


               Warner & Scheuerman
               6 West 18th Street
               10th Floor
               New York, NY 10011


               Yehuda Berko
               614 Oak Drive
               Far Rockaway, NY 11691
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                                                               United States Bankruptcy Court
                                                                      Eastern District of New York
 In re      Brooklyn Buildings LLC                                                                          Case No.
                                                                                    Debtor(s)               Chapter     11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Brooklyn Buildings LLC in the above captioned action, certifies that the following is
a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 July 11, 2018                                                         /s/ Jonathan S. Pasternak
 Date                                                                  Jonathan S. Pasternak
                                                                       Signature of Attorney or Litigant
                                                                       Counsel for Brooklyn Buildings LLC
                                                                       DelBello Donnellan Weingarten Wise & Wiederkehr, LLP
                                                                       One North Lexington Avenue
                                                                       White Plains, NY 10601
                                                                       (914) 681-0200 Fax:(914) 684-0288




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                                                               United States Bankruptcy Court
                                                                      Eastern District of New York
 In                                                                                                   Case
 re         Brooklyn Buildings                                                                        No.
                                                                                  Debtor(s)           Chapter 11


                       STATEMENT REGARDING AUTHORITY TO SIGN AND FILE PETITION

        I, Yehoshua Allswang, declare under penalty of perjury that I am the Managing Member of Brooklyn
Buildings, and that the following is a true and correct copy of the resolutions adopted by the Board of Directors
of said corporation at a special meeting duly called and held on the 5th day of July, 2018.

      "Whereas, it is in the best interest of this corporation to file a voluntary petition in the United States
Bankruptcy Court pursuant to Chapter 11 of Title 11 of the United States Code;

       Be It Therefore Resolved, that Yehoshua Allswang, Managing Member of this Corporation, is
authorized and directed to execute and deliver all documents necessary to perfect the filing of a chapter 11
voluntary bankruptcy case on behalf of the corporation; and

       Be It Further Resolved, that Yehoshua Allswang, Managing Member of this Corporation is authorized
and directed to appear in all bankruptcy proceedings on behalf of the corporation, and to otherwise do and
perform all acts and deeds and to execute and deliver all necessary documents on behalf of the corporation in
connection with such bankruptcy case, and

       Be It Further Resolved, that Yehoshua Allswang, Managing Member of this Corporation is authorized
and directed to employ Jonathan S. Pasternak, attorney and the law firm of DelBello Donnellan Weingarten
Wise & Wiederkehr, LLP to represent the corporation in such bankruptcy case."

 Date July 11, 2018                                                             Signed /s/ Yehoshua Allswang
                                                                                       Yehoshua Allswang




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                                                                     Resolution of Board of Directors
                                                                                    of
                                                                           Brooklyn Buildings



      Whereas, it is in the best interest of this corporation to file a voluntary petition in the the United States
Bankruptcy Court pursuant to Chapter 11 of Title 11 of the United States Code;

       Be It Therefore Resolved, that Yehoshua Allswang, Managing Member of this Corporation, is
authorized and directed to execute and deliver all documents necessary to perfect the filing of a chapter 11
voluntary bankruptcy case on behalf of the corporation; and

       Be It Further Resolved, that Yehoshua Allswang, Managing Member of this Corporation is authorized
and directed to appear in all bankruptcy proceedings on behalf of the corporation, and to otherwise do and
perform all acts and deeds and to execute and deliver all necessary documents on behalf of the corporation in
connection with such bankruptcy case, and

       Be It Further Resolved, that Yehoshua Allswang, Managing Member of this Corporation is authorized
and directed to employ Jonathan S. Pasternak, attorney and the law firm of DelBello Donnellan Weingarten
Wise & Wiederkehr, LLP to represent the corporation in such bankruptcy case.

 Date July 11, 2018                                                              Signed    /s/ Yehoshua Allswang
                                                                                           Yehoshua Allswang




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